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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO. 07-20136-CIV-SEITZ/O’ SULLIVAN

WALTER INTERNATIONAL PRODUCTIONS,
INC., et al.,

Plaintiffs,
Vv.

WALTER MERCADO SALINAS, et al.,

Defendants.

 

NOTICE OF STRIKING FILINGS FOR FAILURE TO COMPLY WITH COURT ORDERS

THIS MATTER is before the Court sua sponte. On March 19, 2008, the Court issued an
Order requiring the parties' to observe the prohibition against filing discovery materials set forth in
both in Local Rule 26.1 and in Attachment A of the Court’s Scheduling Order [DE-28]. Despite
this reminder, on March 20, 2008, Defendants filed two Notices to Take Deposition [DE-90, 91]
and on April 7, 2008, six additional Notices [DE-101-106].? For the parties’ information, new
filings in the Court’s considerable docket are automatically printed on a daily basis. Thus such
filings not only disregard the Local Rules but unnecessarily sacrifice trees. Therefore, it is hereby

ORDERED that all Notices to Take Deposition [DE-62-73; DE-75-81; DE-90-91; DE-101-
106] are STRICKEN from the Record. The Court trusts that the parties will comply with the Local
Rules in the future.

DONE AND ORDERED in Miami, Florida, this & day of April, 2008.

Pogue bleh

PATRICIA A.SEITZ CS ~
UNITED STATES DISTRICT JUDGE
cc: All Counsel of Record

 

I Though the Order addressed the Plaintiff, as it had previously filed Notices of Deposition, the

Local Rules and the Court’s Scheduling Order apply to both parties.

2 Plaintiff filed another six Notices of Deposition shortly after the March 19 Order was docketed.

However, the filings have since ceased.
